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                 Deposition of Gary D. Kleck

Oregon Firearms Federation, Inc., et al. v. Brown, et al.

                           January 25, 2023




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 Oregon Firearms Federation, Inc., et al. v. Brown, et al.                            Gary D. Kleck



                                                                                       Page 1
                            IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON
     ______________________________________________________

       OREGON FIREARMS FEDERATION,    )
       INC., et al.,                  )
                                      )
                     Plaintiffs,      )
                                      ) Case No.
            v.                        ) 2:22-cv-01815-IM
                                      ) 3:22-cv-01859-IM
      KATE BROWN, et al.,             ) 3:22-cv-01862-IM
                                      ) 3:22-cv-01869-IM
                     Defendants.      )
      ______________________________ )
                                      )
                                      )
               (Continued)            )
     ______________________________________________________

                       * VIDEOCONFERENCE *
           VIDEOTAPED DEPOSITION UPON ORAL EXAMINATION
                            OF EXPERT
                           GARY D. KLECK
     ______________________________________________________

                                          Witness located in:

                                          Tallahassee, Florida



             * All participants appeared via videoconference *




     DATE TAKEN:                  January 25, 2023
     REPORTED BY:                 Tia B. Reidt, Washington RPR, CSR #2798
                                                Oregon #22-0001


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2                             (Continued) )
                                          )
3         MARK FITZ, et al.,              )
                                          )
4                        Plaintiffs,      )
                v.                        )
5                                         )
          ELLEN F. ROSENBLUM, et al.,     )
6                                         )
                         Defendants.      )
7         ______________________________ )
          KATERINA B. EYRE, et al.,       )
8                                         )
                         Plaintiffs,      )
9               v.                        )
                                          )
10        ELLEN F. ROSENBLUM, et al.,     )
                                          )
11                       Defendants.      )
          ______________________________ )
12        DANIEL AZZOPARDI, et al.,       )
                                          )
13                       Plaintiffs,      )
                v.                        )
14                                        )
          ELLEN F. ROSENBLUM, et al.,     )
15                                        )
                         Defendants.      )
16       ______________________________________________________
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                                                                                          Page 33
1        the left column of Table 1?

2                  A.      I just went through their listing year by year

3        of mass shootings.

4                          And by the way, when -- I first did this quite

5        a few years back.                     So at one point they had 2013 data,

6        which is why my Table 1 has data for 2013.                                But if you

7        consult recent versions of that database, for some

8        reason or another, they don't have 2013 anymore.                                 I

9        don't know if it's because they thought, you know,

10       their compilation was suddenly unreliable or whatever,

11       but...

12                         So, you know, and this is a -- this is a table

13       I've been working with for years, not just in recent

14       legal cases.                And so each of those numbers in the mass

15       shootings column could change, and it's not -- it's not

16       necessarily what I compiled in, I don't know, like,

17       January of 2022.                    That's not necessarily what's

18       reflected in the table because I worked on it in

19       earlier years as well.

20                 Q.      Take me through the process of how you

21       consulted the data.

22                 A.      Just going through the Gun Violence Archive

23       listing of individual mass shootings.                                And, you know,

24       the vast majority of what they classify as mass

25       shootings, they don't involve four or more dead.                                 That

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                                                                                          Page 34
1        is, they're not limited to cases that -- that I would

2        have -- that met my criterion.                             And so it's a matter of

3        wading through them, looking for the ones where four or

4        more were killed.

5                          And then among the ones where it was exactly

6        four, you've also got to check to see whether or not

7        the -- that count includes killings of people other

8        than the victims.                     It's not just a victim count.

9        Sometimes it includes suspects.                             Something I didn't

10       realize in the early years, by the way.                              And then later

11       on, it became evident, oh, they're also counting deaths

12       of suspects, I think in response to criticism as to

13       what their death count totals are.

14                         So where it's borderline and it barely meets

15       the criterion of four, then I would have to look at the

16       details of the incident and confirm that it involved

17       four or more victims.                          But that was a real problem for

18       the early years.

19                 Q.      In the current dataset, are victims coded --

20       sorry.          Are -- I withdraw that.

21                         In the current Gun Violence Archive data, are

22       shooters categorized in number killed?

23                 A.      Yes.        In -- in the sort of brief summary of

24       each mass shooting, number of fatalities would include

25       any suspects killed.                         But then you can -- you can click

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                                                                                          Page 35
1        on details of the incident and get further information.

2        And usually it's possible, at least in recent years, to

3        get which -- which victims were suspects and which were

4        victims.

5                  Q.      So there are some instances where the Gun

6        Violence Archive lists four killings, but they are not

7        reflected in Table 1?

8                  A.      They would be in Table 1.                      But the problem is

9        that some of those numbers would include counts of

10       suspects as well as victims.

11                 Q.      Did you download the data when you produced

12       Table 1?

13                 A.      I wouldn't call it "downloading."                       It simply

14       reading it off of a computer screen and making tick

15       marks, tally marks, to count up the number of

16       incidents.

17                 Q.      You didn't download a .csv file?

18                 A.      No.

19                 Q.      And your best recollection is you did this in

20       January of 2022?

21                 A.      That's probably the most recent one I've done

22       for recent years, but I did it -- earlier parts of that

23       table for the earlier years prior to that going --

24                 Q.      Is -- is your typical professional practice

25       not to keep the data that you rely on in your scholarly

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                                                                                          Page 36
1        work?

2                  A.      Not at all.

3                  Q.      Maybe I asked a bad question there.

4                          Do you typically keep the data that you rely

5        on for your scholarly work?

6                  A.      Yes.

7                  Q.      Did you keep the data in this instance?

8                  A.      Yes.

9                  Q.      How so?

10                 A.      Well, I mean, you can see it in Table 1.                         I

11       mean, those are -- those are simply the numbers that I

12       counted up.               So that is the original data.

13                 Q.      But the -- those numbers can't be reproduced

14       by looking at the Gun Violence Archive today, can they?

15                 A.      Yeah, you could -- you could certainly test

16       them.         In other words, if the violence policy

17       archive -- I'm sorry, the Gun Violence Archive people

18       hadn't revised anything, then the numbers should pretty

19       much jibe -- what you would get going through their

20       current database would jibe with what's in Table 1.

21       But as I say, unfortunately, they're always revising,

22       and so there can be a little bit of deviation from

23       what's shown in Table 1 and what's in the Gun Violence

24       Archive database at any one moment in time.

25                 Q.      Wouldn't that be a good reason to preserve the

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                                                                                           Page 37
1        actual observations that you were relying on when you

2        were producing Table 1?

3                  A.      Sure.

4                  Q.      But you chose not to?

5                  A.      No, I did.

6                          And again, what you see in Table 1 is it.

7                  Q.      You have no record of what 21 mass shootings

8        you're counting for year 2020 in this data; right?

9                  A.      I don't think so.                     I don't -- in other words,

10       places and dates and so on, that kind of detail?

11                 Q.      Right.

12                 A.      No.       No, it was just a tabulation.

13                 Q.      So if it shows 23 now, the likely explanation

14       is that Gun Violence Archive updated its database to

15       add two additional shootings?

16                 A.      Yeah, or there were -- there are changes in

17       details as to what they were counting, victims versus

18       suspects.             That's -- that can change.                     I think what

19       sometimes happens, I've seen some indications that

20       they'll get additional media reports submitted to them

21       where it provides more detail, and it becomes apparent,

22       oh, yeah, that guy was a suspect -- that victim was a

23       suspect, not a victim in the ordinary sense.

24                 Q.      Can you infer from Table 1 of your declaration

25       how many mass shootings did not use a large-capacity

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                                                                                          Page 76
1        the criticisms, which is not a scholarly practice.                                   You

2        know, scholars will respond to criticism with some kind

3        of a rebuttal, but those who are big fans of the notion

4        that defensive gun use is rare simply don't respond.

5                  Q.      Are you familiar with William English of

6        Georgetown University?

7                  A.      Yeah.         Yeah.

8                  Q.      Are you familiar with the 2021 National

9        Firearms Survey he's posted on SSRN?

10                 A.      Yeah.

11                 Q.      What do you think of that survey?

12                 A.      I don't think you can rely on it.

13                 Q.      Why not?

14                 A.      He's vague about exactly how he developed his

15       sample.           And there's nothing in his report to

16       contradict the assumption that what he had was a

17       self-selected sample, where people were in effect --

18       who arrived at, let's say, a website were invited to

19       participate.                And that's not a valid sample technique

20       to generate a sample that's representative of the

21       larger US population.

22                 Q.      Why does that matter?

23                 A.      Well, because you can't then generalize the

24       results from your sample to the population as a whole.

25       You only know, well, this was what was true in my

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                                                                                            Page 77
1        sample, which was to some extent self-selected, but you

2        can't know that it applies in any way, shape, or form,

3        to the US population as a whole.

4                  Q.      Do you have other concerns with - with the

5        2021 National Firearms Survey that Dr. English posted

6        on SSRN?

7                  A.      No.       That's sufficient.

8                  Q.      Without -- without that information that is

9        missing, you would not rely on that survey for any

10       purpose?

11                 A.      That is correct.                      I would not rely.

12                 Q.      Your thesis is that -- about the NRA defensive

13       use data, that NRA staff intentionally omit stories of

14       defensive gun use that have greater than ten rounds

15       fired?

16                 A.      I think they omit any kind of an incident that

17       would make defensive gun use look less reputable, less

18       responsible.                If there's an excessive number of rounds

19       fired, they would be very reluctant to include that

20       among the incidents they publicize by putting it into

21       the armed citizen column.

22                 Q.      Why do you think that firing more than ten

23       rounds is excessive?

24                 A.      Well, it's unusual, for starters.                         And many

25       people would interpret it as indiscriminate fire.                                    They

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                                                                                         Page 151
1                                             C E R T I F I C A T E

2
3          STATE OF WASHINGTON

4          COUNTY OF PIERCE

5
6                       I, Tia Reidt, a Certified Court Reporter in and

7          for the State of Washington, do hereby certify that the

8          foregoing transcript of the deposition of GARY D. KLECK,

9          having been duly sworn, on January 25, 2023, is true and

10         accurate to the best of my knowledge, skill and ability.

11                      Reading and signing was requested pursuant to

12         FRCP Rule 30(e).

13                      IN WITNESS WHEREOF, I have hereunto set my hand

14         and seal this 1st day of February, 2023.

15
16
17
18                                                  ________________________________

19                                                  /S/ Tia B. Reidt
                                                    Tia B. Reidt, RPR, CSR #22-0001
20                                                  NOTARY PUBLIC, State of
                                                    Washington.
21                                                  My commission expires
                                                    5/15/2026.
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23
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